        Case 1:23-cv-01744-JDB          Document 70        Filed 06/25/25      Page 1 of 2




                         UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF COLUMBIA

 SIERRA CLUB, et al.,
                                                         No. 1:23-cv-01744-JDB
                        Plaintiffs,
         v.

 UNITED STATES ENVIRONMENTAL
 PROTECTION AGENCY, et al.,

                        Defendants.




                                  NOTICE OF STIPULATION
       On July 12, 2024, the Court approved and entered a Consent Decree setting deadlines for

the United States Environmental Protection Agency (“EPA”) to take certain actions under

section 110(k)(2)-(4) of the CAA, 42 U.S.C. § 7410(k)(2)-(4). ECF No. 53. The Consent

Decree requires EPA to, among other things, “sign a notice of final rulemaking to approve,

disapprove, conditionally approve, or approve in part and disapprove in part” certain State

Implementation Plan (“SIP”) Regional Haze Plan revision submissions. ECF No. 53-1 ¶ 3(b).

Paragraph 7 of the Consent Decree permits the deadlines in the Consent Decree to be extended

“by written stipulation of Plaintiffs and EPA with notice to the Court.” ECF No. 53-1 ¶ 7. The

attached Stipulation is the Parties’ written agreement to extend the final action deadlines, as

specified in the Stipulation, for the South Dakota, Indiana, Colorado, South Carolina, Tennessee,

Texas and Hawaii SIP Regional Haze Plan revision submissions.


For Plaintiffs
                                      /s/ Joshua D. Smith
                                      Joshua D. Smith
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                                                 1
       Case 1:23-cv-01744-JDB    Document 70      Filed 06/25/25   Page 2 of 2




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Dated: June 16, 2025



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Dated: June 25, 2025




                                         2
